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 8                     UNITED STATES DISTRICT COURT
 9               FOR THE SOUTHERN DISTRICT OF CALIFORNIA
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10
      UNITED STATES OF AMERICA,           ) Case No. 17cr3690 AJB
11                                        )
12                   Plaintiff,           ) ORDER GRANTING JOINT
                                          ) MOTION TO CONTINUE
13    v.                                  ) MOTION HEARING
14                                        ) TRIAL SETTING
      MORGAN ROCKCOONS,                   )
15
                                          ) (Doc. No. 36)
16                   Defendant.           )
      ___________________________________ )
17
18          Having reviewed the Stipulation between the Government and the Defendant to
19    continue the hearing on Defendant’s Motion to Merge Counts 3 & 4 of the Superseding
20    Indictment and Sever Counts 1 & 2 and to continue the Trial Setting Hearing, the Court
21    finding good cause, hereby Orders that the hearing on Defendant’s Motion to Merge
22
      Counts 3 & 4 of the Superseding Indictment and Sever Counts 1 and 2, as well as the
23
      Trial Setting Hearing both scheduled for December 10, 2018 at 2:00pm, are vacated and
24
      continued to January 14, 2019, at 2:00pm.
25
            The time for the above stated continuance is excluded under the Speedy Trial Act,
26
      Title 18, United States Code, Sections 3161(h)(1)(D) and 3161(h)(7)(A) when
27
      considering the factors under Title 18, United States Code, Sections 3161(h)(7)(B)(I)
28
     Case 3:17-cr-03690-AJB Document 37 Filed 12/05/18 PageID.181 Page 2 of 2



 1    and 3161(h)(7)(B)(iv).
 2          IT IS SO ORDERED.
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 4
      DATED: December 5, 2018
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                                           Hon. Anthony J. Battaglia
 7                                         U.S. District Judge
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